Case 1:21-cv-04677-EK-RLM Document 15 Filed 11/30/21 Page 1 of 3 PagelD #: 36

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VIA ECF

Hon Eric Komitee
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201
November 29, 2021

Re: Petty v. State of New York, et al., 21 CV 04677 (EK-RLM)
Dear Judge Komitee:

Plaintiff's counsel would like to address the claims of Defendants regarding the merits of
the action in this court.

Plaintiff’s Claims are not barred by the Eleventh Amendment

As noted in Garcia v. S.U.N.Y Health Sciences Center, 280 F. 3d 98 (2001) “the
significance is not what it provides in its text, but the larger “background principle of
state sovereign immunity” that it confirms. Seminole Tribe of Fla v. Florida, 517 U.S. 44,
55, 116 S. Ct. 1114, 134 L. Ed. 2d 252 (1996) “The ultimate guarantee of the Eleventh
Amendment is that nonconsenting States may not be sued by private individuals in
federal court” However, “ this guarantee is not absolute”. Congress may abrogate the
“immunity when it both intends to do so and acts pursuant to a valid grant of
constitutional authority....quoting Kimel v. Florida Bd. of Regents, 528 U.S. 62, 73, 120
S. Ct. 631, 145 L Ed. 2d 522 (2000). The court should note that this provision is not “all
encompassing” “It generally gives a state, and state officials acting in their official
capacities, protection against suits by citizens for damages for past wrongs. ..but it does
not however, confer protection against suits for prospective injunctive relief to
remedy continuing wrongs” US v Yonkers Bd of Educ., 893 F. 2d 498 (1990) emphasis
added, citing Milliken v. Bradley, 433US 267, 268-90, 97 S. Ct. 2749, 2761-62, 53 L Ed
2d 745 (1977) Furthermore, “the eleventh amendment does not prohibit the issuance of
an order enjoining a state official to henceforth conform his conduct to the requirements
of the Constitution” Daisernia v. State of NY, 582 F. Supp. Dist Court, ND (1984) citing
Pennhurst State School & Hospital v. Halderman 104 S. Ct. 900, 908, 79 L Ed. 2d 67
(1984). The 11th amendment bars suit in federal court against a state official in his
official capacity where the claim is that the official violated state law in carrying out his
Case 1:21-cv-04677-EK-RLM Document 15 Filed 11/30/21 Page 2 of 3 PagelD #: 37

duties, and the relief sought would operate against the state, which is not alleged in this
case.

In this matter New York State failed to inform the Plaintiff of the initial SORA hearing or
the subsequent SORA redetermination hearing scheduled in 2004. The Plaintiff thereby
should be permitted to litigate the matter in Federal Court. Indeed, there are also the
factual issues as to the actions by the State actors including the initial State court in
stating that the Plaintiff was present at the hearing, when in fact he could not have been
present as he was incarcerated at the time.

Plaintiff’s claims are not barred by the Doctrine of Collateral Estoppel and the
Rooker-Feldman Doctrine

The basic issue of this litigation is that the Plaintiff was unaware of the SORA and
subsequent redetermination of his status because he was incarcerated at the time and
therefore did not have an opportunity to contest the redetermination. This issue has not
been previously litigated and therefore it cannot be reasonably argued that this issue was
fully and fairly litigated in a prior proceeding contrary to the Defendants’ claims. The
Plaintiff only recently learned of this issue upon being arrested in another state for failure
to register for actions that took place in 1994 when he was 16 years old. It cannot be
argued that somehow he should have been aware of this when he was incarcerated at that
time.

The Plaintiff did not lose in a prior state action, he pled guilty and accepted the court’s
imposition of a penalty when he was physically present in the court at the time of
sentencing. It is standard case law that the facts alleged in the initial complaint are
deemed to be true at the time of a motion for summary judgment and the Plaintiff has
alleged such facts that they establish a cause of action that is actionable in this court.
Although the Defendants’ have cited Heck v. Humphrey 512 U.S. 477 (1994) it is argued
that the facts are that case are very distinguishable from the current matter. There is no
allegation of the Respondents acting under the color of state law engaged in an “unlawful,
unreasonable and arbitrary investigation” This case deals with a certain set of
circumstances in which the Plaintiff has filed allegations against the state in which their
actions were taken without his knowledge had resulted in his arrest in another state. That
the state had an obligation to ensure the Plaintiff was notified of the hearing and should
not have conducted it without his knowledge. That he was deprived of the opportunity to
participate in the hearing and thereafter was arrested and confined in another state due to
actions that he had no control over.

Federal Court has proper jurisdiction in this matter whereby the Defendants’
violated the Plaintiff’s due process rights as guaranteed by the Fifth and Fourteenth
Amendments of the United States Constitution.

That due to the actions by the Defendants in not informing the Plaintiff of the change of
the sex offender status of the Plaintiff he was arrested in another state and subjected to a
Case 1:21-cv-04677-EK-RLM Document 15 Filed 11/30/21 Page 3 of 3 PagelD #: 38

loss of his Constitutional rights. Under the Fifth Amendment no individual should be
deprived of life, liberty, or property, without due process of law. Additionally, under the
Fourteenth Amendment no state shall deprive any person of life, liberty, or property,
without due process of law; nor deny to any person within its jurisdiction the equal
protection of the laws.

That the Defendants failed to notify the Plaintiff when they had actual knowledge of his
actual address at the time of the hearing. Furthermore, there is the issue of false
documentation produced at the hearing that the Plaintiff allegedly signed. This document
led to the improper classification of him as a sex offender. As a result, he was arrested in
another state simply because he was not aware that he was supposed to register as a sex
offender due to a change of his classification at a hearing that he did not and could not
attend.

Plaintiff’s claims are not barred due to Statute of Limitations

That as per the Defendants because the address at the beginning of Plaintiff's initial arrest
was the same as in his current complaint that this would lead one to believe that his
address had not changed during the subsequent time period. However it is clear that the
Plaintiff was incarcerated from 2003 until 2013. That the Plaintiff chose to use the same
address after he was released from incarceration does not nullify his claim that he was not
residing at that residence in 2004 when there was the SORA redetermination of his sex
offender status. The main point is that he was not informed of the hearing and could not
have been informed of the hearing at that time. The Plaintiff was arrested in March, 2020
due to this issue in California and then retained this office to investigate why this incident
had taken place. However, of course the Pandemic had spread across the country and it
had inhibited this office from conducting a quick investigation as most of the courts were
closed and employees were working remotely so it was difficult to obtain the necessary
documentation. As such it is submitted to the court that the Plaintiff had undertaken the
appropriate actions under said time period to ascertain the circumstances that led to his
arrest and then was able to bring a suit against the Defendants when he was able to
ascertain that the arrest was due to the improper actions of the State.

Consequently the Plaintiff should be permitted to continue his action in Federal court to
require New York State to retroactively remove his placement on the Sex Offender
Registry and for such other and further relief as the court deems just and proper.

Respectfully submitted,

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Alan Gerson, Esq.
Attorney for Plaintiff
